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12
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13

14
                        UNITED STATES DISTRICT COURT

15
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

16

17   THE BOEING COMPANY, et al.,              No. CV 13-00730 AB (AJWx)

18                     Plaintiffs,            INDEX OF CITATIONS TO
                                              DEPOSITION TESTIMONY OF
19              vs.                           DEFENDANTS ENERGIA
                                              LOGISTICS, LTD. AND ENERGIA
20   KB YUZHNOYE, et al.,                     OVERSEAS, LLC (ROBERT
                                              PECKHAM AND IRA SCHEY
21                     Defendants.            VOLUMES II AND III)

22
                                              Date: November 10, 2015
23                                            Time: 10:00 a.m.
                                              Courtroom No. 4 - 2nd Floor
24                                            Hon. André Birotte

25                                            Complaint Filed: February 1, 2013

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Case 2:13-cv-00730-AB-AJW Document 845 Filed 11/10/15 Page 2 of 10 Page ID #:49281




 1         Defendants Energia Overseas, LLC and Energia Logistics, Ltd. (the “U.S.
 2   Subsidiaries”) hereby provide the following index of citations to the deposition
 3   testimony of Robert Peckham and Ira Schey (Vols. II and III) that the U.S.
 4   Subsidiaries intend to introduce as evidence at trial.
 5
           Plaintiffs have generally objected to these designations as untimely, but
 6
     provided no specific objections to page-line numbers.
 7

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 9      Deposition Testimony Plaintiffs’ Objections to Testimony Cited by U.S.
         of Robert Peckham                      Subsidiaries
10
        1:1-25
11
        7:1 – 8:22
12
        9:5-11
13
        9:19-22
14
        12:25 – 14:11
15
        15:2-7
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        16:9-14
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        17:15-23
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        18:4-7
19
        18:19-25
20
        20:1 - 21:13
21
        21:23 – 23:18
22
        27:12-22
23
        28:18 – 29:16
24
        30:2-5
25
        32:22 – 33:5
26
        33:7-15
27
        33:19-25
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 1    Deposition Testimony Plaintiffs’ Objections to Testimony Cited by U.S.
       of Robert Peckham                      Subsidiaries
 2
      34:2-17
 3
      35:3 – 37:24
 4
      45:23 – 46:1
 5
      46:4
 6
      46:14-22
 7
      47:9-12
 8
      47:15
 9
      47:17-22
10
      48:14-17
11
      49:13-17
12
      49:19-21
13
      49:23 – 50:17
14
      51:2-16
15
      52:11-15
16
      53:11-12
17
      53:14 – 54:11
18
      54:25 – 55:6
19    60:24 – 61:5
20    61:8-10
21    61:13-16
22    61:18
23    62:7-11
24    62:13-17
25    62:19-21
26    63:14-15
27    63:17-18
28

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 1    Deposition Testimony Plaintiffs’ Objections to Testimony Cited by U.S.
       of Robert Peckham                      Subsidiaries
 2
      64:8-15
 3
      64:17-20
 4
      65:14-23
 5
      67:12-15
 6
      67:17-20
 7
      67:22-25
 8
      68:2-7
 9
      68:9
10
      68:14-20
11
      68:22-25
12
      69:2
13
      69:4-8
14
      71:4-12
15
      73:14 – 74:2
16
      75:25 – 76:5
17
      76:12-17
18
      77:13 – 78:5
19    78:16-25
20    79:13-22
21    80:24 – 81:25
22    82:2-21
23    84:3-19
24    85:25 – 86:8
25    86:11-13
26    86:23 – 87:4
27    88:9-15
28

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 1    Deposition Testimony Plaintiffs’ Objections to Testimony Cited by U.S.
       of Robert Peckham                      Subsidiaries
 2
      89:17-20
 3
      92:19 – 94:7
 4
      95:24 – 96:5
 5
      96:22-24
 6
      98:19-24
 7
      99:5-16
 8
      100:9-5
 9
      101:1-7
10
      102:1-13
11
      102:24 – 103:8
12
      106:12 – 107:1
13
      108:1-14
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      109:1-3
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      109:12
16
      109:15-25
17
      110:10-20
18
      111:2-5
19    111:14-18
20    111:20 – 112:2
21    112:4-16
22    112:22 – 114:5
23    117:4-9
24    117:22 – 118:2
25    118:6-10
26    118:22 – 119:1
27    119:11-22
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 1    Deposition Testimony Plaintiffs’ Objections to Testimony Cited by U.S.
       of Robert Peckham                      Subsidiaries
 2
      120:5-10
 3
      121:14 – 122:4
 4
      122:19-24
 5
      124:25 – 125:11
 6
      125:15-17
 7
      125:24 – 126:11
 8
      126:22-25
 9
      127:11 – 128:23
10
      129:15-23
11
      130:13-17
12
      131:3-20
13
      134:15-25
14
      135:4-24
15
      136:1-9
16
      137:14-23
17
      138:10-22
18
      148:1-10
19    163:7-22
20    165:6-11
21    165:23 – 166:2
22    166:17-23
23    167:7-13
24    168:2-8
25    168:11-12
26    168:24 – 169:10
27    169:18 – 170:6
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 1    Deposition Testimony Plaintiffs’ Objections to Testimony Cited by U.S.
       of Robert Peckham                      Subsidiaries
 2
      173:13 – 175:15
 3
      175:19 – 176:5
 4
      176:13 – 177:4
 5
      177:13 – 178:6
 6
      180:1-16
 7
      181:21-25
 8
      182:10 – 183:15
 9
      183:24 – 184:10
10
      184:20 – 185:9
11
      188:2-23
12
      189:11 – 190:15
13
      191:10 – 192:1
14
      192:8-23
15
      193:21 – 194:1
16
      194:12 – 195:1
17
      195:12-23
18
      196:1-6
19    196:17-25
20    197:6-11
21    197:16 – 198:19
22    199:2-5
23    199:21-25
24    200:8-19
25    201:5-11
26    201:14 – 202:20
27    204:5 – 205:10
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 1    Deposition Testimony Plaintiffs’ Objections to Testimony Cited by U.S.
       of Robert Peckham                      Subsidiaries
 2
      206:13-19
 3
      207:11-15
 4
      210:3-21
 5
      212:7-23
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      213:14-23
 7
      214:16 – 215:6
 8
      215:15-20
 9
      216:11-15
10
      217:12 – 218:3
11
      218:16 – 219:22
12
      220:6-8
13
      220:18-25
14
      221:4-11
15
      221-19-24
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      222:18 – 223:9
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      224:11 – 225:15
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      226:4-19
19    227:4-18
20    236:1-237:12
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 3    Deposition Testimony Plaintiffs’ Objections to Testimony Cited by U.S.
      of Ira Schey 11-11-14                   Subsidiaries
 4
      257:1 – 377:14
 5
      379:14 – 449:9
 6
      450:6-20
 7
      451:1 – 499:11
 8
      500:9 – 506:25
 9
      514:11 – 584:25
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      590:1-25
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                                     #:49289



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 3         Deposition Testimony Plaintiffs’ Objections to Testimony Cited by U.S.
           of Ira Schey 03-25-15                   Subsidiaries
 4
           1:1 – 2:20
 5
           3:1 – 4:5
 6
           5:1 – 34:11
 7
           36:1 – 118:7
 8
           119:20 – 133:9
 9
           134:5 – 140:11
10
           144:1-22
11

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14

15   DATED: November 10, 2015                     DENTONS US LLP
16                                                By___s/David Simonton_________
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17
                                                  Attorneys for Defendants
18                                                ENERGIA OVERSEAS LLC AND
                                                  ENERGIA LOGISTICS LTD.
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